      Case: 1:18-cv-06703 Document #: 1 Filed: 10/03/18 Page 1 of 5 PageID #:1



                  IN THE UNITED STATES DISTRICT COURT
              NORTHERN DISTRICT OF ILLINOIS EASTERN DIVISION

IN RE: Arvin Navarez                            )      Case No.
                                                )
                                                )
      Plaintiff                                 )      COMPLAINT
                                                )
                                                )      Judge:
                                                )
                                                )      Magistrate:
v.                                              )      July Demand Requested
                                                )
      Midland Credit Management, Inc.           )
      2365 Northside Drive; Suite 300            )
      San Diego, CA 92108                       )
                                                )
      Defendant                                 )
______________________________________________________________________
   Now comes Plaintiff, by and through his attorneys, and, for her Complaint alleges as
                                        follows:

                                       INTRODUCTION

             1. Plaintiff, Arvin Navarez, brings this action to secure redress from
                unlawful collection practices engaged in by Defendant, Midland Credit
                Management, Inc.. Plaintiff alleges violation of the Fair Debt Collection
                Practices Act, 15 U.S.C. Section 1692 et seq. (“FDCPA”).
             2. The FDCPA broadly prohibits any false, misleading or deceptive
                threats in connection with the collection of a debt 15 U.S.C. Section
                1692e
             3. The Seventh Circuit Court of Appeals in McMahon vs. LVNV Funding,
                LLC et al., 744 F.3d 1010 (7th Cir. 2014), has stated that “if the debt
                collector uses language in its dunning letter that would mislead an
                unsophisticated consumer into believing that the debt is legally
                enforceable the collector has violated the FDCPA.” Id. at 1020.
             4. Recently, the Seventh Circuit Court of Appeals in Pantoja vs. Portfolio
                Recovery Assocs., LLC, 15-CV-01567, (7th Cir., 2017), stated the
                FDCPA “prohibits a debt collector from luring debtors away from the
Case: 1:18-cv-06703 Document #: 1 Filed: 10/03/18 Page 2 of 5 PageID #:2



          shelter of the statute of limitations without providing an unambiguous
          warning that an unsophisticated consumer would understand.”
       5. In that same case: the Seventh Circuit Court of Appeals stated that the
          warning described in paragraph four, must be “clear, accessible, and
          unambiguous to the unsophisticated consumer.” Id.
       6. Finally, that same case held: “[S]ilence about that significant risk of
          losing the protection of the statute of limitations renders Portfolio
          Recovery’s dunning letter misleading and deceptive as a matter of
          law.” Id.
                      JURISDICTION AND VENUE
       7. This court has jurisdiction pursuant to 28 U.S.C. Section 1331, 1337,
          1367; and 15 U.S.C. section 1692(d).
       8. Venue is proper because a substantial part of the events giving rise to
          this claim occurred in this District.
                              PARTIES
       9. Plaintiff, Arvin Navarez (hereinafter “Plaintiff”) incurred an obligation to
          pay money, the primary purpose of which was for personal, family, or
          household uses (the “Debt”).
       10. Plaintiff is a resident of the State of Illinois.
       11. Defendant, Midland Credit Management, Inc. (“Defendant”), is a
          California business entity with an address of2365 Northside Drive,
          Suite 300, San Diego, CA 92108 operating as a collection agency, and
          is a “debt collector” as the term is defined by 15 U.S.C. Section
          1692a(6).
       12. Unless otherwise stated herein, the term “Defendant” shall refer to
          Midland Credit Managment.
       13. At some point, the original creditor, transferred this debt to Defendant
          for debt collection.
                                      STANDING
Case: 1:18-cv-06703 Document #: 1 Filed: 10/03/18 Page 3 of 5 PageID #:3



       14. Plaintiff has suffered an injury in fact that is traceable to Defendant's
          conduct and that is likely to be redressed by a favorable decision in
          this matter.
       15. Specifically, Plaintiff suffered a concrete informational injury as a result
          of Defendant's failure to provide truthful information in connection with
          its attempt to collect an alleged debt from Plaintiff.

                                    APPLICABLE CASE LAW

       16. The Seventh Circuit Court of Appeals in McMahon vs. LVNV Funding,
          LLC et al., 744 F.3d 1010 (7th Cir. 2014), has stated that “if the debt
          collector uses language in its dunning letter that would mislead an
          unsophisticated consumer into believing that the debt is legally
          enforceable the collector has violated the FDCPA.” Id. at 1020.
       17. The Court in McMahon paid special attention to the word “settle” as a
          term that would make an unsophisticated consumer believe that (s)he
          is still legally obligated for the debt. Id.
       18. Just recently in Pantoja vs. Portfolio Recovery Assocs., LLC (7th Cir.,
          2017), the Court of Appeals stated “[S]ilence about that significant risk
          of losing the protection of the statute of limitations renders Portfolio
          Recovery’s dunning letter misleading and deceptive as a matter of
          law.”
                                    ALLEGATIONS
       19. The Plaintiff allegedly incurred a financial obligation in the approximate
          amount of $28,469.73 (the “Debt”) to an original creditor (the
          “Creditor”)
       20. The Debt was purchased, assigned or transferred to Defendant for
          collection, or Defendant was employed by the Creditor to collect to
          Debt.
       21. The Defendant attempted to collect the Debt and, as such, engaged in
          “communications” as defined in 15 U.S.C. Section 1692a(2).
       22. On September 17, 2017, Defendant mailed Plaintiff a collection letter.
Case: 1:18-cv-06703 Document #: 1 Filed: 10/03/18 Page 4 of 5 PageID #:4



          See Exhibit.
       23. The letter opens by stating “Congratulations! You have been pre-
          approved for a discount program designed to save you money. Act
          now to maximize your savings and put this debt behind you by
          calling….” See Exhibit.
       24. The “Current Balance” as stated was $799.77. See Exhibit.
       25. The letter offers payments as low as $50 per month. See Exhibit.
       26. Said letter also offers “6 Monthly Payments of Only $106.64.” See
          Exhibit.
       27. Finally, at the end of the letter, it stats “[T]he law limits how long you
          can be sued on a debt and how long it can appear on your credit
          report. Due to the age of this debt, we will not sue you for it. If you do
          not pay the debt, we may continue to report it to the credit reporting
          agencies as unpaid.” See Exhibit.
       28. The language of this letter and lack of appropriate warning about
          making a payment on this debt, which would restart the statute of
          limitations for a lawsuit, is misleading as a matter of law, per the
          Seventh Circuit Court of Appeals in Pantoja.
VIOLATIONS OF THE FDCPA-15 U.S.C. SECTION 1692, et seq.
       29. The Plaintiff incorporates by reference all of the above paragraphs of
          this Complaint as though fully stated herein.
       30. The Defendants’ conduct violated 15 U.S.C. Section 1692e in that the
          Defendant materially misled Plaintiff through this communication.
       31. Plaintiff is entitled to damages as a result of Defendant’s violations.
                                    JURY DEMAND
       32. Plaintiff demands a trial by jury.
                                    PRAYER FOR RELIEF
       33. Plaintiff demands the following relief:
       WHEREFORE, the Court should enter Judgment in favor of Plaintiff and
       against Defendant for:
                    (1) Statutory damages;
Case: 1:18-cv-06703 Document #: 1 Filed: 10/03/18 Page 5 of 5 PageID #:5



                   (2) Attorney fees, litigation expenses and costs of suit; and

                   (3) Such other and further relief as the Court deems proper.

                                                Respectfully submitted,
                                           /s/ John Carlin__________________
                                             John P. Carlin #6277222
                                             Suburban Legal Group, LLP
                                             1305 Remington Rd., Ste. C
                                             Schaumburg, IL 60173
                                             jcarlin@suburbanlegalgroup.com
                                             Attorney for Plaintiff
